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                   UNITED STATES COURT OF APPEALS                      FILED
                          FOR THE NINTH CIRCUIT                         JUN 21 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
WILD FISH CONSERVANCY, a                       No.   23-35322
Washington non-profit corporation,
                                               D.C. No. 2:20-cv-00417-RAJ
               Plaintiff-Appellee,             Western District of Washington,
                                               Seattle
 v.
                                               ORDER
JENNIFER QUAN, in her official capacity
as Regional Administrator of the National
Marine Fisheries Service; et al.,

               Defendants,

ALASKA TROLLERS ASSOCIATION,

               Intervenor-Defendant,

and

STATE OF ALASKA,

               Intervenor-Defendant-
               Appellant.


WILD FISH CONSERVANCY, a                       No.   23-35323
Washington non-profit corporation,
                                               D.C. No. 2:20-cv-00417-RAJ
               Plaintiff-Appellee,

 v.

JENNIFER QUAN, in her official capacity
as Regional Administrator of the National
Marine Fisheries Service; et al.,
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               Defendants,

STATE OF ALASKA,

               Intervenor-Defendant,

and

ALASKA TROLLERS ASSOCIATION,

               Intervenor-Defendant-
               Appellant.


WILD FISH CONSERVANCY, a                       No.   23-35324
Washington non-profit corporation,
                                               D.C. No. 2:20-cv-00417-RAJ
               Plaintiff-Appellant,

 v.

JENNIFER QUAN, in her official capacity
as Regional Administrator of the National
Marine Fisheries Service; et al.,

               Defendants-Appellees,

 and


ALASKA TROLLERS ASSOCIATION;
STATE OF ALASKA,

               Intervenor-Defendants-
               Appellees.


WILD FISH CONSERVANCY, a                       No.   23-35354
Washington non-profit corporation,

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                                                D.C. No. 2:20-cv-00417-RAJ
                Plaintiff-Appellee,

 v.

JENNIFER QUAN, in her official capacity
as Regional Administrator of the National
Marine Fisheries Service; et al.,

                Defendants-Appellants,

and

ALASKA TROLLERS ASSOCIATION;
STATE OF ALASKA,

                Intervenor-Defendants.

Before: SILVERMAN, R. NELSON, and BUMATAY, Circuit Judges.

      The State of Alaska moves to stay the district court’s May 4, 2023 judgment

to the extent it vacates the portions of the 2019 Southeast Alaska Biological

Opinion (the “BiOp”) that authorize “take” of the Southern Resident Killer Whale

and Chinook salmon resulting from commercial harvests of Chinook salmon. The

Alaska Trollers Association and the federal appellants join that motion. Wild Fish

Conservancy moves to enjoin implementation of the portion of the BiOp that

pertains to the “prey increase program.”

      The motion for leave to file a brief as amicus curiae in support of the State’s

motion to stay (Docket Entry No. 27) is granted.

      In deciding a motion to stay, we consider “four factors: ‘(1) whether the stay


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applicant has made a strong showing that he is likely to succeed on the merits; (2)

whether the applicant will be irreparably injured absent a stay; (3) whether

issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.’” Nken v. Holder, 556 U.S. 418,

434 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

      The motion to stay in part the district court’s May 4, 2023 judgment (Docket

Entry No. 15) is granted. A flawed agency rule does not need to be vacated upon

remand and instead may be left in place when equity demands. See Cal. Cmties.

Against Toxics v. U.S. E.P.A., 688 F.3d 989, 992 (9th Cir. 2012) (citations

omitted). Here, the moving parties have established a sufficient likelihood of

demonstrating on appeal that the certain and substantial impacts of the district

court’s vacatur on the Alaskan salmon fishing industry outweigh the speculative

environmental threats posed by remanding without vacatur. See id. (declining to

vacate an agency rule in part because doing so would be “economically

disastrous.”). Accordingly, the district court’s judgment is stayed to the extent it

vacates the portions of the BiOp that authorize “take” of the Southern Resident

Killer Whale and Chinook salmon resulting from commercial harvests of Chinook

salmon during the winter and summer seasons of the troll fisheries.

      “The standard for evaluating an injunction pending appeal is similar to that

employed by district courts in deciding whether to grant a preliminary injunction.”


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Feldman v. Ariz. Sec’y of State, 843 F.3d 366, 367 (9th Cir. 2016); see also Winter

v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008) (defining standard for

preliminary injunction in district court).

      The motion for injunctive relief (Docket Entry No. 19) is denied. Plaintiff-

appellant has not demonstrated that the district court likely abused its discretion in

declining to vacate the prey increase program, particularly in light of the district

court’s finding that the disruptive consequences of vacatur would ultimately put

the whales at further risk of extinction and outweigh the seriousness of the

agency’s errors. See Ctr. for Food Safety v. Regan, 56 F.4th 648, 668 (9th Cir.

2022) (ordering remand without vacatur in part because the challenged rule

maintained “enhanced protection of the environmental values” at issue).

      The existing briefing schedule remains in effect.




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